4:03-cr-03014-RGK-CRZ        Doc # 395     Filed: 05/20/08   Page 1 of 1 - Page ID # 1538


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          4:03CR3014-1
                                             )
                     Plaintiff,              )
                                             )
       vs.                                   )
                                             )          ORDER
HA T.T. NGUYEN,                              )
                                             )
                     Defendant.              )

       IT IS ORDERED that

       (1)    The defendant’s second motion for extension (filing 394) is granted.

       (2)   Counsel of record shall have until close of business on June 2, 2008, to comply
with paragraph 2 of the undersigned’s memorandum and order dated March 5, 2008.

       May 20, 2008.                      BY THE COURT:


                                          s/ Richard G. Kopf
                                          United States District Judge
